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  9                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 10                               WESTERN DIVISION
 11
 12   Edwardo Munoz, individually and on
      behalf of all others similarly situated,              Case No. 2:18-cv-03893-RGK-AGR
 13
                                      Plaintiff,               [PROPOSED] ORDER
 14                                                            GRANTING PLAINTIFF’S
            v.
 15                                                            MOTION FOR PRELIMINARY
      7-Eleven, Inc., a Texas corporation,                     APPROVAL OF CLASS ACTION
 16                                                            SETTLEMENT
                                        Defendant.
 17
                                                               Date: July 15, 2019
 18                                                            Time: 9:00 a.m.
 19                                                            Judge: Hon. R. Gary Klausner
                                                               Courtroom: 850
 20                                                            Complaint Filed: May 9, 2018
 21
 22
            Having considered the moving papers and all other matters presented to the
 23
      Court, the Court finds that Plaintiff’s Motion for Preliminary Approval of Class
 24
      Action Settlement should be granted, and hereby orders as follows:
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 28
            [Proposed] Order Granting Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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  1     1.        The Court finds that, subject to the Final Approval Hearing, the
  2               Settlement Agreement is fair, reasonable, adequate, and in the best
  3               interest of the Class Members.
  4     2.        The Court further finds that the Notice Plan and all forms of Notice to the
  5               Class Members as set forth in the Settlement Agreement and the Exhibits
  6               thereto are approved as to their form, method, and content. Further, the
  7               Court finds that the Notice Plan satisfies all of the requirements of Fed.
  8               R. Civ. P. 23 and due process.
  9
 10   IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED.
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 12
      Dated:
                                                          Hon. R. Gary Klausner
 13                                                       United States District Judge
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               [Proposed] Order Granting Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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